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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.

LA CV 20-02291-DOC-(KESx)

CIVIL MINUTES — GENERAL

Date May 10, 2021

 

 

Title LA Alliance for Human Rights, et al. v. City of Los Angeles, et al.

 

PRESENT: HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

Kelly Davis
Courtroom Clerk

ATTORNEY PRESENT
FOR PLAINTIFF:

Elizabeth Mitchell
Carol Sobel
Brooke Weitzman
Shayla Myers

Deborah Parker
Court Reporter

ATTORNEYS PRESENT
FOR DEFENDANT:

Arlene Hoang

Scott Marcus

Jessica Mariani

Jennifer Hashmall

Emily Rodriguez Sanchirico
Lauren Black

Louis “Skip” Miller
Supervisor Kathryn Barger

PROCEEDINGS: MOTION HEARING via Zoom

(Held and Completed)

Case called. Court and counsel confer via Zoom. The Court hears
argument from counsel regarding the Motion to Dismiss filed by County of Los
Angeles [256]. The Court takes the motion under submission.

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Initials of Deputy kd

 

 

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